The right of the plaintiff to bring the action in his own name as supervisor, was, we think, conferred by the third section of the act of 1867. (Laws of 1867, chap. 747; see Looney,Supervisor, etc., v. Hughes, 26 N.Y., 514.) The intent of the act was to authorize the supervisor of the town to recover any money for which the commissioners should wrongfully neglect or refuse to account.
We also think that the defendants were chargeable with interest. They retained and neglected to account for the fund in question, and undertook to appropriate it to their own use, denying the right of the town thereto. This we consider brings them within the provision of the act before cited, which makes them chargeable with interest on all moneys coming to their hands as commissioners and used by them.
The other questions raised, and the merits of the case, are so fully discussed in the opinion of P. POTTER, J., at General Term, that we do not deem it necessary to say more than that we concur in his conclusions.
The judgment should be affirmed with costs.
All concur.
Judgment affirmed. *Page 507 